
699 S.E.2d 640 (2010)
STATE of North Carolina
v.
John A. McKENZIE, Appellate/Petitioner.
No. 133P10.
Supreme Court of North Carolina.
June 16, 2010.
John A. McKenzie, pro se.
Daniel P. O'Brien, Assistant Attorney General, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 23rd of March 2010 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
